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 9
                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     THE UNITED STATES OF AMERICA, ) No. CR.S-07-00314 LKK
                      Plaintiff,       )
12                                     ) STIPULATION REGARDING
                                       ) EXCLUDABLE TIME PERIODS
13
           v.                          ) UNDER SPEEDY TRIAL ACT;
14                                     ) FINDINGS AND
                                       ) ORDER
15
     JUAN MORALES                      )
16                                     )
                      Defendant.       )
17
     ________________________________)
18

19
                                         STIPULATION

20         Plaintiff United States of America, by and through its counsel of record, and
21   defendant, by and through her counsel of record, hereby stipulate as follows:
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           1.     By previous order, this matter was set for status on April 30, 2013.
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           2.     By this stipulation, defendant now moves to continue the status conference

25   until June 25, 2013 and to exclude time between April 30, 2013 and June 25, 2013 under
26
     Local Code T4. Plaintiff does not oppose this request.
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           3.     The parties agree and stipulate, and request that the Court find the
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 1   following:
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            a.    On April 23, 2013, the court held a status conference for all parties in this
 3
     matter. The matter was generally continued to June 25, 2013, based upon the recent
 4

 5   receipt of 10,000 pages of discovery and further counsel preparation. Ms. Babineau,
 6
     counsel for Mr. Morales, was not present and requested that co-counsel, Timothy
 7
     Warriner, stand in for her and her counsel. At the hearing, Mr. Warriner was unable to
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 9   inform the court that Mr. Morales was aware of Ms. Babineau’s inability to appear in

10   court. Consequently, the court ordered Ms. Babineau to appear on April 30, 2013 at 9:15
11
     a.m.
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            b.    Mr. Morales was informed that Ms. Babineau was unavailable to attend the

14   court hearing on April 23, 2013. Mr. Morales had no objection to other counsel standing
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     in for Ms. Babineau. Mr. Morales had no objection to the continuing of the status
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     conference to June 25, 2013, with the other defendants.
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18          c.    Ms. Babineau was assigned out to trial in the matter of People v. Joseph
19   Conn, Arsenio Barajas and Jamie Sandoval, Sacramento Superior Court case number
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     11F00158 on March 25, 2013, to department 17, the Honorable Ernie Sawtelle presiding.
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22
     This is a complicated felony murder homicide, with three juries. The court in this trial

23   has demanded that counsel be in court ready to start at 9:00 a.m. and does not release the
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     participants until after 4:30 p.m, Monday through Thursday of every week. The court has
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     on more than one occasion, brought in the jury to sit, waiting in the jury box, if any
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27   participant (including jurors) are late. The court has repeatedly denied requests by
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     counsel to accommodate their need to make other court appearances. The court denied


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 1   Ms. Babineau’s request to accommodate her ability to attend the court appearance on
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     April 23, 2013 for Mr. Morales.         Consequently, Ms. Babineau requested that Mr.
 3
     Warriner stand in for her, and her client. The Conn trial is scheduled to conclude around
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 5   May 10, 2013.
 6
            d.       Ms. Babineau is formally requesting the court allow the status conference
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     to continue to June 25, 2013 and to exclude time between April 30, 2013 and June 25,
 8

 9   2013 under Local Code T4. Plaintiff does not oppose this request.

10          e.       The defense recently received approximately 10, 000 pages of discovery
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     that must be reviewed and discussed with my client.
12

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            f.       Counsel for defendant believes that failure to grant the above-requested

14   continuance would deny her the reasonable time necessary for effective preparation,
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     taking into account the exercise of due diligence.
16
            g.       The government does not object to the continuance.
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18          h.       Based on the above-stated findings, the ends of justice served by continuing
19   the case as requested outweigh the interest of the public and the defendant in a trial
20
     within the original date prescribed by the Speedy Trial Act.
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22
            i.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

23   3161, et seq., within which trial must commence, the time period of April 30, 2013 to
24
     June 25, 2013, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),
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     B(iv) [Local Code T4] because it results from a continuance granted by the Court at
26

27   defendant’s request on the basis of the Court's finding that the ends of justice served by
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              Case 2:07-cr-00314-KJM Document 186 Filed 04/29/13 Page 4 of 5


 1   taking such action outweigh the best interest of the public and the defendant in a speedy
 2
     trial.
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     IT IS SO STIPULATED.

 6   Dated: April 29, 2013                           Respectfully submitted,
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 8                                                   /s/ Kelly Babineau
                                                     KELLY BABINEAU
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                                                     Attorney for Juan Morales
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12   Dated: April 29, 2013                           /s/ Kyle Rearson
                                                     Kelly Babineau for:
13                                                   KYLE REARDON
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                                                     Assistant U.S. Attorney

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 1
                                            ORDER
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 3   IT IS HEREBY ORDERED that the matter of USA v. Juan Morales, case no. 07-cr-
 4
     00314, be continued to June 25, 2013, for further status conference and that time be
 5
     excluded excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4].
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 8   Dated: April 29, 2013
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